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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

CRAIG MOSKOWITZ, on behalf of himself and all
others similarly situated,
                                                                           COMPLAINT
                                Plaintiff,
                                                                           17 CV _________
                 -vs.-
                                                                            Class Action
AMERICAN SAVINGS BANK, F.S.B.,
                                                                          Jury Demanded
                                Defendant.


        Comes now Craig Moskowitz (“Mr. Moskowitz” or “Plaintiff”), on behalf of himself and

all others similarly situated, and alleges as follows:

        1.       Plaintiff is bringing this class action against American Savings Bank, F.S.B.

(“ASB” or “Defendant”) for its violations of the Telephone Consumer Protection Act, 47 U.S.C.

§ 227 and the regulations promulgated thereunder (the “TCPA”).

        2.       Defendant, using an automatic telephone dialing system, caused to be made at

least four calls to Plaintiff that delivered text messages to Plaintiff’s cell phone without

Plaintiff’s prior express consent. These calls violated the TCPA, which prohibits the making of

any calls to a cellular telephone using an automatic telephone dialing system without the prior

express consent of the person to whom the call is made. For the past four years, Defendant has

made thousands of identical or substantially similar calls using an automatic telephone dialing

system to cellular telephones of thousands of persons throughout the United States without

obtaining the prior express consent of the persons being called. Accordingly, Plaintiff is bringing

this class action.




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                                              PARTIES

       3.       Mr. Moskowitz is a citizen and resident of Connecticut.

       4.       Upon information and belief, ASB is a non-governmental corporation organized

under the laws of the United States of America with its principal place of business in Honolulu,

Hawaii.

                                 JURISDICTION AND VENUE

       5.       This Court has federal question jurisdiction over this action under 28 U.S.C. §

1331 and 47 U.S.C. § 227.

       6.       Venue is this judicial district is proper under 28 U.S.C. § 1391(b)(2) because this

is the judicial district in which a substantial part of the events or omissions giving rise to the

claim occurred.

                                 STATUTORY BACKGROUND

                                             The TCPA

       7.       The TCPA generally prohibits a person from making any telephone call using any

automatic telephone dialing system to any telephone number assigned to a cellular telephone

service without the prior express consent of the called party. 47 U.S.C. § 227(b)(1)(A)(iii); 47

C.F.R. §§ 64.1200(a)(1)(iii).

       8.       The TCPA defines the term “automatic telephone dialing system” as “equipment

which has the capacity-- (A) to store or produce telephone numbers to be called, using a random

or sequential number generator; and (B) to dial such numbers.” 47 U.S.C. § 227(a)(1). Accord

47 C.F.R. § 64.1200(f)(2).

       9.       Paragraph (3) of 47 U.S.C. § 227(b) provides:

       (3) Private right of action




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               A person or entity may, if otherwise permitted by the laws or rules of
       court of a State, bring in an appropriate court of that State --

               (A) an action based on a violation of this subsection or the regulations
       prescribed under this subsection to enjoin such violation,

               (B) an action to recover for actual monetary loss from such a violation, or
       to receive $500 in damages for each such violation, whichever is greater, or

              (C) both such actions.

       If the court finds that the defendant willfully or knowingly violated this
       subsection or the regulations prescribed under this subsection, the court may, in
       its discretion, increase the amount of the award to an amount equal to not more
       than 3 times the amount available under subparagraph (B) of this paragraph.


                                    ASB’s Illegal Conduct

       10.    Upon information and belief, on June 2, 2016, June 22, 2016, July 1, 2016 and

July 3, 2016, Defendant, without Plaintiff’s prior express consent, used an automatic telephone

dialing system, within the meaning of the TCPA, to make, initiate and/or caused to be initiated a

telephone call to Plaintiff’s cellular telephone number, which was and remains 914-426-3033, to

deliver text messages, copies of which are attached hereto as Exhibit A. Plaintiff had no

previous contact or dealings whatsoever with Defendant before receiving the text messages

described above.

       11.    Upon information and belief, an automatic telephone dialing system within the

meaning of the TCPA was used to make the above-described calls to Plaintiff’s cell phone

because the text messages were generic, impersonal and aimed at a mass audience. Specifically,

the text messages received by Plaintiff on June 2, 2016, July 1, 2016 and July 3, 2016, read as

follows: “ASB Hawaii Mobile Reply STOP to cancel alerts. Call 800.272.2566 or go to

www.ASBhawaii.com. Msg freq depends on account settings. Msg&data rates may apply.” The

text message received by Plaintiff on June 22, 2015, reads as follows: “ASB Hawaii Mobil You



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are not subscribed and will not receive alerts.         To subscribe, call 800.272.2566 or go to

www.ASBhawaii.com. Reply HELP for help.” Id. Upon information and belief, Defendant,

using an automatic telephone dialing system sent these text messages to thousands of persons at

the same time.

        12.      Plaintiff suffered concrete harm as a result of the above telephone calls and

resulting text messages in that the telephone calls tied up Plaintiff’s telephone line, invaded

Plaintiff’s privacy, disturbed Plaintiff’s solitude and wasted Plaintiff’s time.

        13.      Upon information and belief, over the last four years, Defendant, using an

automatic telephone dialing system within the meaning of the TCPA, made thousands of

telephone calls to the cellular telephones of thousands of persons throughout the United States,

without having received prior express consent from the called parties, to deliver text messages

identical or substantially similar to the messages described above that Defendant left for

Plaintiff.

                                      CLASS ALLEGATIONS

        14.      Plaintiff brings this class action on behalf of himself and all others similarly

situated, under Rules 23(a) and 23(b)(1)-23(b)(3) of the Federal Rules of Civil Procedure, for

Defendant’s violations of the TCPA.

        15.      Plaintiff seek to represent a class of individuals (“the Class”) defined as follows:

        All persons in the United States, from four years prior to the filing of the instant

Complaint through the date of the filing of the instant Complaint, to whom, without obtaining the

persons’ prior express consent, Defendant, using an automatic telephone dialing system as

defined in the TCPA, made, initiated and/or caused to be initiated any calls to the persons’

cellular telephones, that delivered a text message identical or substantially similar to the




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messages described above that was left for Plaintiff.

        16.     Numerosity: The Class is so numerous that joinder of all individual members in

one action would be impracticable. The disposition of the individual claims of the Class

members through this the class action will benefit both the parties and this Court.

        17.     Upon information and belief the Class contains at a minimum thousands of

members.

        18.     Upon information and belief, the Class’ size and the identities of the individual

members thereof are ascertainable through Defendant’s records, including, but not limited to

Defendant’s call records.

        19.      Members of the Class may be notified of the pendency of this action by

techniques and forms commonly used in the class actions, such as by published notice, e-mail

notice, website notice, fax notice, first class mail, or combinations thereof, or by other methods

suitable to the Class and deemed necessary and/or appropriate by the Court.

        20.     Typicality: Plaintiff’s claims are typical of the claims of the members of the

Class. The claims of the Plaintiff and members of the Class are based on the same legal theories

and arise from the same unlawful conduct.

        21.     Defendant, using an automatic telephone dialing system within the meaning of the

TCPA, made, initiated and/or caused to be initiated at least one telephone call to Plaintiff and

each member of the Class, without obtaining the called parties’ prior express consent, that

delivered a text message identical or substantially similar to the text messages described above

that were left for Plaintiff.

        22.     Common Questions of Fact and Law: There is a well-defined community of

common questions of fact and law affecting the Plaintiff and members of the Class.




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       23.      The questions of fact and law common to Plaintiff and the Class predominate over

questions which may affect individual members and include the following:

       (a) Whether Defendant’s conduct of using an automatic telephone dialing system within

             the meaning of the TCPA, to make, initiate or cause to be initiated at least one

             telephone call to Plaintiff and each member of the Class, without obtaining the called

             parties’ prior express consent, that delivered a text message identical or substantially

             similar to the messages described above that was left for Plaintiff, violated the

             TCPA?

       (b) Whether Plaintiff and the members of the Class are entitled to statutory damages from

       Defendant under the TCPA?

       (c) Whether Defendant’s violations of the TCPA were willful or knowing?

       (d) Whether Plaintiff and the members of the Class are entitled to up to triple statutory

       damages under the TCPA from Defendant for Defendant’s willful and knowing

       violations of the TCPA?

       (e) Whether Plaintiff and the members of the Class are entitled to a permanent injunction

       under the TCPA enjoining Defendant from continuing to engage in its unlawful conduct?

       24.      Adequacy of Representation: Plaintiff is an adequate representative of the Class

because Plaintiff’s interests do not conflict with the interests of the members of the Class.

Plaintiff will fairly, adequately and vigorously represent and protect the interests of the members

of the Class and has no interests antagonistic to the members of the Class. Plaintiff has retained

counsel who is competent and experienced in litigation in the federal courts, class action

litigation and TCPA litigation.

       25.       Superiority: A class action is superior to other available means for the fair and




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efficient adjudication of the claims of the Class. While the aggregate damages which may be

awarded to the members of the Class are likely to be substantial, the damages suffered by

individual members of the Class are relatively small. As a result, the expense and burden of

individual litigation makes it economically infeasible and procedurally impracticable for each

member of the Class to individually seek redress for the wrongs done to them. Plaintiff does not

know of any other litigation concerning this controversy already commenced against Defendant

by any member of the Class. The likelihood of the individual members of the Class prosecuting

separate claims is remote. Individualized litigation would also present the potential for varying,

inconsistent or contradictory judgments, and would increase the delay and expense to all parties

and the court system resulting from multiple trials of the same factual issues. In contrast, the

conduct of this matter as a class action presents fewer management difficulties, conserves the

resources of the parties and the court system, and would protect the rights of each member of the

Class. Plaintiff knows of no difficulty to be encountered in the management of this action that

would preclude its maintenance as a class action.

       26.      Injunctive Relief: Defendant has acted on grounds generally applicable to

Plaintiff and members of the Class, thereby making appropriate final injunctive relief with

respect to Plaintiff and the members of the Class.

                         AS AND FOR A FIRST CAUSE OF ACTION

       27.     Plaintiff repeats each and every allegation contained in all of the above

paragraphs and incorporates such allegations by reference.

       28.     By Defendant’s above-described conduct, Defendant committed thousands of

violations of the TCPA against Plaintiff and the members of the Class.

       29.     Accordingly, Plaintiff and the members of the Class are entitled to statutory




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damages from Defendant under 47 U.S.C. § 227(b)(3) of greater than $5,000,000 and an

injunction against Defendant ordering it to cease its violations of the TCPA.

       30.     If it is found that Defendant willfully and/or knowingly violated the TCPA,

Plaintiff and the members of the Class request an increase by the Court of the damage award

against Defendant, described in the preceding paragraph, to three times the amount available

under 47 U.S.C. § 227(b)(3)(B), as authorized by 47 U.S.C. § 227(b)(3) for willful or knowing

violations, which amounts to greater than $15,000,000.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for:

       A.      An order certifying the Class and appointing Plaintiff as the representative of the

Class and appointing the law firm representing Plaintiff as counsel for the Class;

       B.      An award to Plaintiff and the members of the Class of more than $5,000,000

against Defendant for their violations of the TCPA;

       C.      If it is found that Defendant willfully and/or knowingly violated the TCPA,

Plaintiff and the members of the Class request an increase by the Court of the damage award

against Defendant, described in the preceding paragraph, to three times the amount available

under 47 U.S.C. § 227(b)(3)(B), as authorized by 47 U.S.C. § 227(b)(3) for willful or knowing

violations, which amounts to greater than $15,000,000;

       D.      An injunction against Defendant, on behalf of Plaintiff and the members of the

Class, prohibiting Defendant from violating the TCPA; and

       E.      Such other and further relief as the Court may deem just and proper.

                                        JURY DEMAND

       Plaintiff demands a trial by jury.




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Dated: White Plains, New York
       February 21, 2017

                                      Respectfully submitted,

                                By:   s/Aytan Y. Bellin
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